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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



REGINA SHAW                                    :          CIVIL ACTION
                                               :
               vs.                             :
                                               :
HOWMEDICA OSTEONICS CORP.                      :          NO. 15-903



                                         ORDER


               AND NOW, TO WIT: This 1st day of December, 2015, it having been reported that
the issues between the parties in the above action has been settled and upon Order of the Court
pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court
(effective January 1, 1970), it is

              ORDERED that the above action is DISMISSED with prejudice, pursuant to
agreement of counsel without costs.



                                               BY THE COURT



                                               /s/ Carol Sandra Moore Wells
                                               CAROL SANDRA MOORE WELLS
                                               U.S. MAGISTRATE JUDGE




Civ 2 (7/83)
41.1(b)
